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               IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:10CR419
                              )
          v.                  )
                              )
LUIS RAMIREZ,                 )                       ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to continue trial (Filing No. 48).          The defendant has signed a

written waiver of speedy trial, and the Court finds said motion

should be granted.      Accordingly,

          IT IS ORDERED that defendant’s motion is granted.

Trial of this matter is rescheduled for:

                Tuesday, January 24, 2012, 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.          The parties will have time to

pursue plea negotiations or prepare for trial.             The ends of

justice will be served by continuing this case and outweigh the

interests of the public and the defendant in a speedy trial.                  The

additional time between November 15, 2011, and January 24, 2012,

shall be deemed excludable time in any computation of time under
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the requirement of the Speedy Trial Act.             18 U.S.C.

§ 3161(h)(8)(A) & (B).

          DATED this 7th day of November, 2011.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
